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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                            ROME DIVISION

PUBLIC EMPLOYEES’ RETIREMENT
SYSTEM OF MISSISSIPPI, individually
and on behalf of all others similarly
situated,

                    Plaintiff,                   Civ. A. No. 4:20-00005-ELR

       v.

MOHAWK INDUSTRIES, INC. and
JEFFREY S. LORBERBAUM,

                    Defendants.

 DEFENDANTS’ MOTION TO DISMISS CONSOLIDATED CLASS ACTION
 COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS

      Pursuant to the Private Securities Litigation Reform Act, 15 U.S.C. §§ 78u-

4, et seq., and Federal Rule of Civil Procedure 12(b)(6), Defendants Mohawk

Industries, Inc. and Jeffrey S. Lorberbaum (“Defendants”) hereby move to dismiss

Plaintiff’s Consolidated Class Action Complaint for Violations of the Federal

Securities Laws (ECF No. 37) (the “CC”) with prejudice for the reasons set forth in

the accompanying Memorandum of Law.

      WHEREFORE, Defendants respectfully request that this Motion to Dismiss

be granted and that the CC be dismissed in its entirety. A proposed order is attached

for the Court’s convenience.

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     Respectfully submitted this 27th day of October, 2020.




ALSTON & BIRD LLP                          PARKER, HUDSON, RAINER &
                                           DOBBS LLP

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                   LOCAL RULE 7.1D CERTIFICATION

      By signature below, counsel certifies that the foregoing document was

prepared in Times New Roman, 14-point font in compliance with Local Rule 5.1C.



                                     Robert R. Long
                                     Robert R. Long
                                     Georgia Bar No. 141546
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                         CERTIFICATE OF SERVICE

      I hereby certify that on the 27th day of October, 2020, I electronically filed

the   foregoing   DEFENDANTS’        MOTION       TO    DISMISS      PLAINTIFF’S

CONSOLIDATED CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE

FEDERAL SECURITIES LAWS with the Clerk of Court using the CM/ECF

system, which will automatically send notification of such filing upon Counsel of

Record.

      This 27th day of October, 2020.



                                         Robert R. Long
                                        Robert R. Long
                                        Georgia Bar No. 141546
